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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

PROTRADENET, LLC                       §
                                       §
       Plaintiff.                      §
                                       §         Consolidated
v.                                     §         Civil Action No. 6:18-CV-38-ADA
                                       §
PREDICTIVE PROFILES, INC.              §
                                       §
        Defendant.                     §
_____________________________________________________________________________

PREDICTIVE PROFILES, INC.                           §
                                                    §
            Plaintiff.                              §
                                                    §
v.                                                  §
                                                    §
PROTRADENET, LLC AND DWYER                          §
FRANCHISING, LLC,                                   §
                                                    §
               Defendants.                          §

                         FINDINGS OF FACT AND CONCLUSIONS OF LAW

          The Court held a bench trial in the above-styled and numbered case on October 21, 2019

and October 22, 2019. After considering the testimony and documentary evidence, the Court

enters the following findings of facts and conclusions of law:

                                       FINDINGS OF FACT

          1.       In February 2017, PTN entered into a DISTRIBUTOR VENDOR RELATIONS

AGREEMENT (the “Agreement” or “PTN Agreement”) with Predictive Profiles, Inc.

(“Predictive”).1 Luke Stanton, President of PTN, signed the Agreement on February 23, 2017, on




1
    Plaintiffs’ Exhibit No. 72, ECF 23-1 at 8-13.

                                                    1
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behalf of PTN.2 Carla Bainbridge, President and CEO of Predictive, signed the Agreement on

February 21, 2017, on behalf of Predictive.3 Mary Thompson, COO of Dwyer, was heavily

involved in the negotiation of the PTN Agreement and the relationship between the parties

thereafter.4

         2.     The Agreement’s effective date is when it was signed by PTN 5 on February 23,

2017.6

         3.     Predictive is specifically listed as a “non-exclusive preferred vendor” in the PTN

Agreement.7

         4.     PTN provides various services to various separate franchise brands, which are

subsidiaries of Dwyer, and those brands are referred to as “Trading Partners” in the Agreement.8

Those Trading Partners are listed in EXHIBIT “B” to the PTN Agreement.9 Independently

owned and operated franchisees of each Trading Partner are referenced under the Agreement as

“Contractors.”10

         5.      PTN is a Dwyer subsidiary (Dwyer changed its public name to Neighborly in

2018)11 whose role generally is to provide a wide range of options that may benefit franchisees,

ranging from cheaper sources of supplies to new technologies and services through third-party

vendors.12     In the case of Predictive, the hoped-for benefit was access to more qualified



2
  Plaintiffs’ Exhibit No. 72, ECF 23-1 at 8-13.
3
  Plaintiffs’ Exhibit No. 72, ECF 23-1 at 8-13.
4
  Final Trial Transcript, Page 11 at Line 20 - Page 12 at Line 8 (hereinafter “Transcript”).
5
  Plaintiff’s Exhibit 72 at Section 8.9 (Distributor Vendor Relations Agreement).
6
  Id.
7
  Plaintiffs’ Exhibit No. 72, ECF 23-1 at 8-13.
8
  Plaintiffs’ Exhibit No. 72, ECF 23-1 at 8-13.
9
  Plaintiffs’ Exhibit No. 72, ECF 23-1 at 8-13.
10
   Plaintiffs’ Exhibit No. 72, ECF 23-1 at 8-13.
11
   Transcript, Page 4 at Lines 3-8.
12
   Transcript, Page 8 at Lines 1-12. See also Transcript, Page 226 at Lines 10-16.

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employees and easier hiring processes.13 PTN accomplishes its role by researching best practices

and qualified vendors for products and services that may be of benefit to franchisees, then

selecting “Preferred Vendors.”14 A Distributor Vendor Relations Agreement is then signed

establishing the relationship between PTN and the Preferred Vendor.15 The Preferred Vendors

are made known to franchisees as determined by each individual Dwyer brand (i.e. “Trading

Partner”), and if selected by that brand, the Preferred Vendor is afforded access to its franchisees

through direct communications and events such as conventions and training sessions.16

       6.      Even if a brand selects to participate in the PTN offered services, franchisees are

never required to use Preferred Vendors.17 Franchisees are simply made aware of the goods and

services of the Preferred Vendors, including things like cheaper pricing and vendor rebates.18

Preferred Vendors are generally non-exclusive, meaning PTN may have multiple Preferred

Vendors for the same or similar product or service.19 The contracts are generally terminable by

either party for no cause within ninety (90) days.20

       7.      The PTN Agreement involving Predictive in this case was terminable with or

without cause by either party upon at least ninety (90) days advance written notice of the party’s

intent to terminate the Agreement.21

       8.      Within each category of goods or services, the establishment of agreements with

multiple Preferred Vendors (i.e. non-exclusive), and the ability to readily add and remove



13
   Transcript, Page 14 at Lines 12-20.
14
   Transcript, Page 227 at Line 25 – 228: Line 8.
15
   Transcript, Page 228 at Lines 22-25.
16
   Transcript, Page 9 at Lines 1-15. See also Transcript, Page 232 at Lines 14-20.
17
   Transcript, Page 232 at Lines 10-13.
18
   Transcript, Page 226 at Lines 22-24. See also Transcript, Page 9 at Lines 11-15.
19
   Transcript, Page 230 at Lines 14-17.
20
   Transcript, Page 10 at Lines 10-13.
21
   Plaintiff’s Exhibit 72 at Section 1 (Distributor Vendor Relations Agreement).

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vendors as needed (i.e. no-cause 90-day termination rights), is seen as essential to keep the

marketplace competitive and to provide franchisees with various and multiple options and

alternatives for how they want to run their independently owned and operated franchise

business.22 This framework supports PTN’s position in not entering into exclusive agreements.23

The resulting competitive marketplace thus allows franchisees more options, while maintaining a

certain level of accountability with vendors to ensure best possible pricing and service.24 All of

this is well known to everyone involved, from franchisees to brands to vendors, and vendors

entering the system accept this framework.25 In the end, it is up to the Preferred Vendor to earn

the business of each brand and franchisee.26        There are approximately 200 vendors who

participate in PTN’s Preferred Vendor program.27 During the term of the PTN Agreement there

were at least 3 other Preferred Vendors who offered similar services regarding employee

hiring.28

        9.     Pursuant to the Agreement, PTN granted Predictive an opportunity to market and

promote Predictive’s products and services to the Trading Partners and Contractors who elected

to participate. Predictive was specifically designated as a “non-exclusive preferred supplier,” and

PTN provided franchisees with information and recommended and encouraged franchisees to use

the services of Predictive.29 The Agreement specifically provided that there were no quotas or




22
   Transcript, Page 10 at Lines 5-18.
23
   Transcript, Page 10 at Lines 14-18.
24
   Transcript, Page 229 at Lines 16-22; Page 230 at Lines 18-25.
25
   Transcript, Page 29 at Lines 3-7.
26
   See Transcript, Page 29 at Line 3-7. See also Transcript, Page 232 at Lines 21-23. (There are
no guarantees)
27
   Transcript, Page 9 at Lines 1-7.
28
   Transcript, Page 120 at Lines 14-17. See also Transcript, Page 249 at Lines 6-11; Page 47 at
Lines 5-7.
29
   Plaintiff’s Exhibit 72 at Section 2.2 (Distributor Vendor Relations Agreement).

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minimum number of sales or inquiries pertaining to the Program. 30 There were no guarantees.31

Predictive (through CEO Carla Bainbridge) admitted at trial that no quotas were required or

guaranteed, and that Predictive understood that PTN was not required or obligated to make

franchisees sign up.32

       10.     As part of the Agreement, PTN allowed Predictive limited rights to display the

PTN and participating Trading Partner trademarks and logos.33 Such use was subject to written

or e-mail approval from PTN or the participating brand.34 The Agreement provides that Trading

Partners may be added or removed at any time.35 The Agreement states that Predictive will

receive written or e-mail notification of a change, but does not state that that notice must be in

advance of removal or addition.36

       11.     After beginning its relationship with PTN, Predictive’s system was initially not

widely implemented.37 One reason related to Indeed.com, a national job recruitment web-

portal.38 The PTN Agreement does not reference or mention Indeed.com. 39 Bainbridge stated to

Dwyer COO Mary Thompson that “without a tighter integration with Indeed[.com], we may

have a failed business model.”40 Predictive did not previously use Indeed when the PTN

Agreement was signed, and Predictive did not have a relationship with Indeed prior to PTN.41




30
   Plaintiff’s Exhibit 72 at Section 2.3 (Distributor Vendor Relations Agreement).
31
   Transcript, Page 232 at Lines 21-23.
32
   Transcript, Page 391 at Lines 17-23.
33
   Plaintiff’s Exhibit 72 at Section 6 (Distributor Vendor Relations Agreement).
34
   Id.
35
   Plaintiff’s Exhibit 72 at Section 7 (Distributor Vendor Relations Agreement).
36
   Id.
37
   Transcript, Page 347 at Lines 24-25.
38
   Transcript, Page 357 at Lines 18-21.
39
   Plaintiff’s Exhibit 72 (Distributor Vendor Relations Agreement).
40
   Plaintiff’s Exhibit 8.
41
   Transcript, Page 320 at Lines 4-9. See also Transcript, Page 38 at Lines 3-18.

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As a result, Predictive solicited PTN to provide Predictive with PTN’s contacts at Indeed.42

Learning of Predictive’s lack of prior relationship with Indeed was a course of concern by

PTN.43 Unbeknownst to PTN and Dwyer at the time, Predictive was also trying to figure out

how to “leverage” the Indeed integration for other projects, hoping that Dwyer would financially

pay for it and provide the setup.44

       12.     Following implementation of Predictive’s system and even prior to utilization of

the Indeed.com website in connection with Predictive’s job postings, there was unrest among

franchisees because of disruption caused by Predictive’s services.45 These issues became worse

following Predictive’s utilization of Indeed—a fact acknowledged by Predictive in Bainbridge’s

sworn declaration that “Contractors were inundated with applicants and we learned there was

unrest in the various Trading Partner’s systems.”46 At trial, Predictive likewise admitted that

Contractors had been inundated with applications and they did not like it.47

       13.     Throughout the term of the Agreement, PTN developed additional concerns

regarding Predictive’s platform, such as its inability to target a specific franchisee’s local

employment needs.48

       14.     Franchisees complained to their respective brands, Dwyer, and PTN about

Predictive.49 Even after the PTN Agreement was terminated, franchisees continued to complain

about Predictive’s job postings and the disruptions they caused.50



42
   Transcript, Page 38 at Lines 7-8.
43
   Transcript, Page 38 at Lines 16-18.
44
   Transcript, Page 323 at Line 25 – 325 at Line 11. See also Plaintiff’s Exhibit 9.
45
   Transcript, Page 18 at Line 3 – Page 19 at Line 6.
46
   ECF 63-1 at 5. See also Transcript, Page 500 at Lines 18-20.
47
   Transcript, Page 500 at Lines 18-20.
48
   Transcript, Page 500 at Lines 18 – 501 at Line 2; Page 34 at 6 -24; Page 57 at 19 – 58 at 12;
Page 134 at 4-12.
49
   Transcript, Page 33 at Lines 11-15.

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       15.     One example of the type of complaints received was that an existing franchisee’s

employee would see that their own job was being advertised as open—although it was not

actually open—leading that employee to believe that they were about to be fired and replaced.51

There were also complaints because prospective employees were being told that job openings

existed when they did not, which meant that whenever a job vacancy actually needed to be filled,

that prospective employee might believe there was no real opening as had been their prior

experience.52 Franchisees that had not signed up with Predictive were also getting unsolicited

and unwanted employees directed to them—and also receiving unwanted communications from

Predictive as a result (for example, a frequent complaint was that Predictive was calling

franchisees telling them to sign on so they would be charged).53 In fact, one of the franchisees

that testified at trial had not signed up for Predictive and yet had people walking in to submit

applications.54 The problems and complaints grew so numerous that individual and system-wide

notices to franchisees had to be issued by Dwyer subsidiaries to assure franchisees that these

problems were being worked on to find solutions.55 In addition, to testimony from Dwyer and

PTN at trial, two franchisees also testified regarding these issues and verified them.56

       16.     In response to the ongoing problems created by PTN’s services, after further

review, PTN decided to issue a Request for Proposal (RFP) that would solicit additional

employment vendors who could solve problems related to Predictive and provide additional




50
   Transcript, Page 90 at Lines 5-9. See also Plaintiff’s Exhibit 61.
51
   Transcript, Page 34 at Line 22 – Page 35 at Line 5.
52
   Transcript, Page 90 at Line 15-21.
53
   See Transcript, Page 215 at Lines 6-23.
54
   Transcript, Page 213 at Lines 16 – Page 214 Line 16. See also Transcript, Page 214 at Lines
21-23.
55
   Transcript, Page 42 at Lines 8-11.
56
   Transcript, Pages 152-157 (Jay Van Deusen); Pages 213-216 (Stacey Casey).

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options to franchisees for employment issues, including an alternative applicant tracking system

(“ATS”).57

         17.   While additional options were being pursued, one of the requirements of this RFP

was that the new vendor specifically would have to be able to integrate with Predictive’s

assessment tool.58 The RFP makes clear, in writing, that PTN was not trying to stop working

with Predictive, but rather, insisting on keeping Predictive within the Preferred Vendor

network.59 Predictive was encouraged and able to respond and submit their own proposal for the

RFP.60 Under the RFP, Predictive would continue to be paid whether or not they were being

used by a specific franchisee, or if that franchisee were using the vendor awarded the RFP

because they would be incorporating the Predictive assessment tool.61

         18.   Though not known to PTN and Dwyer at this time, Predictive was having

business troubles throughout this time and considered its business larger than they had bargained

for.62

         19.   In April 2017, Carla Bainbridge was invited to and attended a meeting with

CareerPlug, who was making a proposal in response to the RFP.63

         20.   After the April meeting, Thompson asked Bainbridge if Predictive could make

changes to its platform to satisfy these growing concerns presented by franchisees, including

posting individual jobs and customizing job descriptions.64 This request was rejected because




57
   Transcript, Page 45 at Lines 19-22. See also Transcript, Page 42 at Lines 4-11.
58
   Transcript, Page 47 at Lines 2-12.
59
   Plaintiff’s Exhibit 12 at Page 3, 7.
60
   Transcript, Page 45 at Lines 1-5.
61
   Transcript, Page 46 at Line 11 – 48 at Line 14. See also Transcript, Page 52 at Lines 11-13.
62
   Transcript, Page 39 at Lines 15-17. See also Plaintiff’s Exhibit 8.
63
   Transcript, Page 43 at Line 25 – 44 at Line 2.
64
   Transcript, Page 92 at Lines 3-4. See also Transcript, Page 43 at Lines 1-12; 58 at Lines 5-12.

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Bainbridge informed Thompson that Predictive’s systems could not be customized.65 Given this,

Dwyer and PTN decided to move forward with the RFP for a vendor who would integrate

Predictive and its assessment tool. Although Predictive was still invited to submit an RFP,

Predictive chose not to do so.66 Integration of Predictive’s profiling system and assessment tool

remained a requirement of the RFP, and it was clear that Predictive was going to get paid even

though another ATS platform was chosen because of the integration.67

       21.     Initially, Bainbridge expressed that Predictive was fully on board with

cooperation and integration with the RFP vendor, even sending Thompson e-mails regarding

how to integrate Predictive with the chosen ATS.68 Specifically, Bainbridge stated: “Who did

you select for an ATS provider so I can start to think about how the integration will ideally work,

to be better prepared for our call?”69 In another e-mail on the same day, Bainbridge

communicated how Predictive was looking forward to the integration with the new vendor, at the

time conceding that there were issues with Predictive’s platform: “And just to be totally

transparent, whomever you have selected for an ATS provider, even if there is overlap, we will

figure out the integration. We want nothing but the best in terms of figuring out this total solution

with you and for your organization. Who knows, maybe that company and ours would be a better

market play working together, now that we have the Indeed deal figured out. I know, that we

need to be able to offer a more end to end solution which includes candidate engagement and

onboarding. I just want you to know that I am wide open in terms of how to figure this out.”70




65
   Transcript, Page 91 at Line 20 – 92 at Line 4.
66
   Transcript, Page 501 at Lines 8-24.
67
   Transcript, Page 48 at Lines 3-8.
68
   Plaintiff’s Exhibit 18. See also Plaintiff’s Exhibit 13.
69
   Plaintiff’s Exhibit 18.
70
   Plaintiff’s Exhibit 22.

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       22.     Surprisingly to PTN, after CareerPlug was selected as the RFP winner,

Bainbridge stopped returning phone calls and responding to e-mails despite repeated attempts to

reach her.71 When Bainbridge finally got back in touch, she then began threatening to take all of

Predictive’s career portals down and saying Predictive would “walk away.”72 These e-mail

exchanges culminated in Bainbridge stating that she did not want to be written unless her lawyer

was copied on further correspondence.73 In subsequent e-mails, Bainbridge admitted that her

failed business was attributable to her own decisions.74

       23.     At the 2017 Reunion event hosted by Dwyer, franchisees were introduced to

CareerPlug as a vendor.75 Franchisees were told that they could continue to use Predictive if they

chose.76

       24.     While Franchisee complaints regarding Predictive’s open-source job posting

continued to be ongoing, the push of Predictive as a vendor with Indeed.com created more

confusion for actual job postings.77

       25.     When Indeed told PTN that Indeed’s policy meant that PTN could elect only one

ATS,78 PTN chose CareerPlug.79 Contrary to Predictive’s contentions, this choice of CareerPlug

for Indeed did not remove any Trading Partner from the PTN Agreement.80 Moreover, Predictive




71
   Transcript, Page 62 at Line 19 – Page 63 Line 8.
72
   Plaintiff’s Exhibit 26. See also Transcript, Page 63 at Line 1 – 64, at Line 2.
73
   Transcript, Page 505 at Line 21 – Page 506 at Line 6.
74
   Transcript, Page 71 at Line 22 – 72 at Line 13. See also Plaintiff’s Exhibit 30 and 48;
Transcript, Page 72 at Line 10 – Page 73 at Line 5.
75
   Transcript, Page 71 at Lines 13-21.
76
   Transcript, Page 70 at Line 17 – Page 71 at Line 21. See also Plaintiff’s Exhibit 28.
77
   Transcript, Page 55 at Line 24 – 56 at Line 12.
78
   Transcript, Page 59 at Line 15 – 60 at Line 7.
79
   Transcript, Page 60 at Lines 8-14.
80
   Transcript, Page 61 at Lines 1-7.

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was not using Indeed when it signed the Vendor Relations Agreement.81 While Glass Doctor and

Mr. Electric were chosen to test CareerPlug on Indeed, they were never removed from the PTN

Agreement.82 Franchisees of Glass Doctor and Mr. Electric were still able to use Predictive

during the test.83

        26.     As matters continued to deteriorate following Bainbridge’s threat to pull down

Predictive’s job offerings, a letter dated October 2017 from Predictive’s attorney notified PTN

that Predictive claimed a “partnership” existed between PTN and Predictive, and that PTN was

in breach of the Agreement.84 In a response letter dated January 4, 2018, PTN’s attorney made

clear that, while Predictive’s actions had already terminated the Agreement, PTN was open to

continuing a relationship, advising Predictive’s counsel that franchisees could still use

Predictive’s services.85 Predictive’s attorney then appeared to state that Bainbridge had not

terminated the Agreement and again accused PTN of being in breach. PTN disputed this

assertion and litigation commenced between the parties.86

        27.     Before and during the lawsuit, Bainbridge repeatedly sent threatening e-mails to

Dina Dwyer-Owens, a board member of Dwyer.87 In response to a request that she cease

contacting Ms. Dwyer directly and allowing communications to go through counsel, Bainbridge

persisted, ultimately threatening to get friends in the franchise media world to write negative

stories about Dwyer.88 Bainbridge further stated that “Mary Thompson, once again, via hundreds

of emails, directed their franchisee’s to not use Predictive Profiles. Simply illegal. We have all of


81
   Transcript, Page 320 at Lines 4-9. See also Transcript, Page 38 at Lines 3-18.
82
   Id. See also Transcript, Page 60 at Lines 18-24.
83
   Transcript, Page 60 at Line 20 – Page 30 at Line 7.
84
   Plaintiff’s Exhibit 73.
85
   Plaintiff’s Exhibit 86.
86
   ECF 1-1.
87
   Plaintiff’s Exhibits 32, 33, 34, and 62. See also Transcript, Page 53 at Lines 10-15.
88
   Plaintiff’s Exhibit 33. See also Transcript, Page 311 at Lines 8-17.

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the emails that we collected of this correspondence from Mary Thompson. Many franchise

owners wanted to use our services, and where barred because of Mary Thompson edicts, and

with her direct reports following her direction, via other emails.”89 No e-mails were produced in

discovery or entered into evidence. Bainbridge also stated in an e-mail to Dina Dwyer-Owens:

“But if we do go end up battling this in court, there will be no holds bar on going to the press in

August with Franchise Times and other publications nationally. No threats here. Just a

commitment.”90 Bainbridge ultimately followed through on her commitment.91

       28.     The present lawsuit was filed on January 12, 2018.92 Predictive removed the case

to Federal Court and simultaneously filed a new lawsuit against both PTN and Dwyer.93 The

two lawsuits are now consolidated.94       The Parties agreed to a Preliminary Injunction on

December 4, 2018.95 Predictive violated this Preliminary Injunction.96

       29.     This Court dismissed Predictive’s claims of tortious interference with existing

contracts against Dwyer97 and gave Predictive the opportunity to replead because Predictive had

failed to allege independently tortious acts.98 In response, Predictive amended its complaint and

made the unsupported allegation that PTN told franchisees that they “can no longer use

Predictive’s services whatsoever.”99 At trial, Predictive offered no evidence that anyone told any

franchisee that they could not use Predictive’s services—indeed the testimony at trial confirmed



89
   Plaintiff’s Exhibit 33.
90
   Id.
91
   Transcript, Page 96 at Lines 19-25.
92
   ECF 1-1.
93
   6:18-cv-00039; ECF 1.
94
   ECF 20
95
   ECF 42.
96
   ECF 97.
97
   ECF 47 at 10.
98
   ECF 47 at 11.
99
   ECF 49 at ¶ 56

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that franchisees were told that they had the option to use predictive.100 Instead, Predictive

attempted to argue at trial that PTN somehow interfered with some relationship involving Indeed

that resulted in Predictive job postings being impacted for three weeks.101 However, Predictive

admitted at trial that this was the result of inadvertence, not some intentional or tortious act.102

       30.       Even after the Agreement was terminated, franchisees were specifically told that

they had the option to continue to use Predictive.103

       31.       Ultimately, PTN’s ability to provide franchisees with options with Indeed (a top

national recruiting platform) was jeopardized by Predictive’s non-cooperation,104 and disruption

of PTN’s relationship with Indeed continues at the present time due to ongoing actions by

Predictive.105

       32.       In a sworn declaration, Bainbridge admitted that there are no contracts between

Predictive and franchisees: “There is never any commitment on the part of franchisees to accept

Predictive’s services: they may cancel at any time, or resume service, by providing credit card

information and agreeing to our Terms of Service via a web-based interface.”106

       33.       Dwyer Group is the holding company for twenty three (23) franchise brands in

the home services industry.107 As it relates to the Agreement with Predictive, eleven (11) of the

franchise brands were included.108 Each brand has its own business entity that operates as a




100
    See Transcript, Page 119 at Lines 3-9. See also Transcript, Page 52 at Lines 2-5; Plaintiff’s
Exhibit 28.
101
    E.g., Transcript, Page 419 at Lines 6-24.
102
    Transcript, Page 505 at Lines 9-13.
103
    E.g., Transcript, Page 52 at Lines 2-5.
104
    Id.
105
    See ECF 70.
106
    ECF 63-1 at 4.
107
     Transcript, Page 4, at Lines 3-4.
108
    Transcript, Page 82, at Lines 18-20.

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franchisor.109   Today, there are approximately 3,800 franchisees under the various brands.

Dwyer’s brands total just over $2 billion in annual revenues.110

       34.       Dwyer Group has offered and sold goods and services in United States commerce

for many years and in some cases decades under several federally registered trademarks,

including MR. ROOTER, RAINBOW INTERNATIONAL, MR. APPLIANCE, MR.

ELECTRIC, AIRE SERV, FIVE STAR PAINTING, WINDOW GENIE, THE GROUNDS

GUYS, AND GLASS DOCTOR.111

       35.       For example, Dwyer has used the MR. ROOTER mark since at least as early as

1969.112 It has used the GLASS DOCTOR mark since at least as early as 1976.113 The Dwyer

Group has used the MR. ROOTER, RAINBOW INTERNATIONAL, MR. APPLIANCE, MR.

ELECTRIC, AIRE SERV, FIVE STAR PAINTING, WINDOW GENIE, THE GROUNDS

GUYS, AND GLASS DOCTOR marks continuously in United States commerce for many years

and well before the Defendant’s use.114

       36.       Dwyer Group has offered and sold goods and services under the MR. ROOTER,

RAINBOW INTERNATIONAL, MR. APPLIANCE, MR. ELECTRIC, AIRE SERV, FIVE

STAR PAINTING, WINDOW GENIE, THE GROUNDS GUYS, AND GLASS DOCTOR

marks throughout the United States via its franchisees and through associated web sites.115




109
    Transcript, Page 31 at Lines 9-13.
110
    Transcript, Page 7 at Lines 10-23.
111
     Id.
112
    Id.
113
    Id.
114
    Id.; Transcript, Page 82 at Line 21 – Page 83 at Line 6.
115
    Transcript, Page 83 at Lines 2-6.

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Dwyer Group has also advertised the goods and services on radio, T.V., print magazines, trade

shows and social media.116

       37.     Dwyer Group has invested substantial time, effort and financial resources

promoting its MR. ROOTER, RAINBOW INTERNATIONAL, MR. APPLIANCE, MR.

ELECTRIC, AIRE SERV, FIVE STAR PAINTING, WINDOW GENIE, THE GROUNDS

GUYS, AND GLASS DOCTOR marks in connection with the marketing and sale of its goods

and services.117 As a result, these trademarks have become, through widespread and favorable

public acceptance and recognition, an asset of substantial value as a symbol of Dwyer, its quality

products and its goodwill.

       38.     The Dwyer Marks are arbitrary and fanciful marks that are entitled to the highest

level of protection afforded by law.

       39.     The Dwyer Marks are associated with each of the franchised brands in the minds

of consumers, the public, and the trade.

       40.     Dwyer Group owns and maintains websites associated with each trademark.

Dwyer Group uses these websites to promote each brand.118 Dwyer Group spends significant

resources to advertise and promote itself, the brands and trademarks on the Internet via its

website and search optimization. For example, in 2018 Dwyer Group spent $10.4 million.119 This

includes paid search advertising, web banner advertising, website content creation and

maintenance, and other web activities.

       41.     Dwyer Group promotes its service nationally and locally via a variety of mediums

such as T.V., radio, and print. For any given year, Dwyer Group spends more than $7 million in


116
    Transcript, Page 83 at Lines 7-13.
117
    Transcript, Page 75 at Line 20 – Page 76 at Line 10.
118
    Transcript, Page 83 at Lines 2-6; Page 84 at Lines 12-14.
119
    Transcript, Page 87 at Lines 7-11.

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national and local advertisements.120 Dwyer Group also uses social media as a marketing

channel. For example, Dwyer Group uses Facebook as a marketing channel to attract customers

and others (e.g., potential franchisees and potential employees/contractors for its franchisees).121

For the MR. ROOTER mark, Dwyer uses the page <facebook.com/MrRooterLLC>. Current and

potential customers can use the page to learn of services offered under the MR. ROOTER mark,

locations, and even book an appointment.

       42.     Dwyer Group also has Yelp pages for its wholly owned brand franchises. Dwyer

uses Yelp as a marketing channel to attract customers and others (e.g., potential franchisees and

potential employees/contractors for its franchisees).122 Current and potential customers can use

the page to learn about the services offered under the MR. ROOTER mark, locations, and even

book an appointment.

       43.     Dwyer Group spends over $7 million a year to advertise and promote its wholly

owned brand franchises on various mediums, such as T.V., print, radio, and social media.123

These are only hard advertising expenses and do not include any soft costs such as people

costs.124 On social media, Dwyer spent $151,515 in 2018 and the same for 2019.125 For 2018,

Dwyer spent an average of $1.34 million per month, $16.1 million annually to advertise, promote

the 11 brands.126 Dwyer has spent more in 2019.127




120
    Transcript, Page 84 at Lines 7-12.
121
    Transcript, Page 140 at Line 10 – Page 141 at Line 6.
122
    Id.
123
    Plaintiff’s Exhibit 95; Transcript, Page 83 at Line 7 – Page 84 at Line 11.
124
    Transcript, Page 86 at Lines 8 - Page 87 at Line 1.
125
    Transcript, Page 88 at Lines 6-12.
126
    Transcript, Page 88 at Lines 13-18.
127
    Transcript, Page 88 at Lines 19-22.

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      44.        Below are Dwyer’s total advertising expenditures for the marks at issue:128

ASV         US             $798,386

FSP         US             $708,030

GUY         US             $328,643

MDG         US             $831,760

MRA         US             $727,459

MRE         US             $470,395

MRR         US           $2,203,105

RBW         US             $821,046

WDG         US             $118,455

 TOTAL                   $7,007,279



       45.       The Dwyer Marks identify high quality products originating with the Dwyer

Group’s franchise brands.

       46.       Based upon the Dwyer Group’s extensive advertising, sales and the wide

popularity of products and services, the Dwyer Marks have acquired secondary meaning so that

any product or services and advertisement bearing such marks is immediately associated by

consumers, the public and the trade as being a product and affiliate of the Dwyer Group.129


128
    Plaintiff’s Exhibit 95. The following is the key to the acronyms used above:
        Aire Serv – ASV
        Five Star Paining – FSP
        The Grounds Guys – GUY
        Glass Doctor – MDG
        Mr. Appliance – MRA
        Mr. Electric – MRE
        Mr. Rooter – MRR
        Rainbow International – RBW
        Window Genie – WDG
129
    See Transcript, Page 82 at Line 10 – Page 83 at Line 13.

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       47.     The Dwyer Group has gone to great lengths to protect its Dwyer Marks and

enforce the Dwyer Marks.130

       48.     The Dwyer Marks are in full force and effect and have become incontestable

pursuant to 15 U.S.C. § 1065.

       49.     After the Agreement was terminated, PTN sent Predictive a notice that it was no

longer authorized to use the Dwyer Marks on webpages it had been operating as part of its

services and it was to disable or terminate the domain names that utilized the marks as well.131

At the time, Predicative was using each of the eleven (11) Dwyer Marks in several URLs (e.g.,

http://applyataireserv.com).132 Furthermore, all the content on the pages had been created by

Dwyer.133

       50.     Rather than ceasing to use the Dwyer Marks, taking down the URLs, and

discontinuing use of the domains after it no longer had contractual rights to use Dwyer’s Marks,

Predictive registered new URLs and then “redirected” all traffic from prior URLs to new ones.

For example, if one typed the domain “applyatmrrooter.com,” that person would be redirected to

Predictive’s new domain, “applyforplumbingjobs.com,” and the content on these new domains

still used the Dwyer Marks without permission.134         As a result, Predictive was using and

profiting from the registered trademarks without license or consent. Even after being ordered to

turn over the infringing URLs and to cease to use Dwyer’s marks, Predictive continues to use the

new domains and infringe Dwyer’s trademarks.135




130
    Transcript, Page 77 at Lines 7-15. See also Plaintiff’s Exhibit 75.
131
    Id.
132
    Plaintiff’s Exhibits 87-90.
133
    Transcript, Page 68 at Lines 9-21.
134
    Plaintiff’s Exhibits 87-90.
135
    Transcript, Page 89 at Line 23 – Page 90 at Line 9. See also Plaintiff’s Exhibit 61.

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            51.   Predictive’s acts after the Agreement was terminated were intentional and

calculated to confuse and to deceive the consumers, the public and the trade and were performed

with full knowledge of the Dwyer Group’s rights.

            52.   After the Agreement was terminated, Predictive was no longer associated,

affiliated or connected with, or endorsed or sanctioned by The Dwyer Group.

            53.   After the Agreement was terminated, the Dwyer Group has never authorized or

consented in any way to the use by Predictive of the Dwyer Marks or copies thereof.

            54.   The use by Predictive of the Dwyer Marks or copies thereof on Predictive’s

products and services is likely to cause consumers, the public, and the trade to believe

erroneously that the goods or services offered or sold by Predictive emanate or originate from the

Dwyer Group, or that said items are authorized, sponsored, or approved by the Dwyer Group,

even though they are not.136

            55.   This confusion causes irreparable harm to the Dwyer Group and weakens the

distinctive quality of the Dwyer Marks.137

            56.   By using infringements of the Dwyer Marks on Predictive’s goods and services,

Predictive is trading on the goodwill and reputation of the Dwyer Group and creating the false

impression that Predictive’s goods and services are the Dwyer Group’s legitimate products and

services.

            57.   Predictive has been unjustly enriched by illegally using and misappropriating the

Dwyer Group’s intellectual property for Predictive’s own financial gain.




136
      Id.
137
      Id.

                                                  19
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          58.     Furthermore, Predictive has unfairly benefited and profited from the Dwyer

Group’s outstanding reputation for high quality products and services, and its significant

advertising and promotion of the Dwyer Group products and services and the Dwyer Marks.

          59.     Predictive has disparaged the Dwyer Group, its Dwyer Marks, and its products

and services by creating a false association with the Dwyer Group, its genuine goods and

services, and the Dwyer Marks.

          60.     The Dwyer Group has had no control over the nature and quality of the products

and services sold by Predictive bearing infringements of the Dwyer Marks.

          61.     Among other things, Predictive’s distribution, sale, offers of sale, promotion and

advertisement of its products and services has reflected adversely on the Dwyer Group as the

believed source of origin thereof, hampered continuing efforts by the Dwyer Group to protect its

outstanding reputation for high quality, originality and distinctive goods and services, and

tarnished the goodwill of the Dwyer Marks to consumer, the public, and the trade, and, unless

restrained, will continue to do so.138

          62.     After the Agreement was terminated, rather than taking down the domain names

and ceasing use of the registered trademarks, Predictive instead registered new domains and then

“redirected” all traffic from the domains using the eleven (11) franchise brand’s trademarks to

the new domains. For example, if one typed the domain “applyatmrrooter.com,” that person

would be redirected to Predictive’s new domain, applyforplumbingjobs.com.139 As a result, ,

Predictive was using and profiting from the registered trademarks without license or consent by

using the domains. Predictive has turned over some of the domains using the eleven (11)




138
      Transcript, Page 89 at Line 23 – Page 90 at Line 9. See also Plaintiff’s Exhibit 61.
139
      Id.

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franchise brand’s trademarks to Dwyer after being ordered to do so by the Court in this case.

However, Predictive continued to use the new domains as discussed below.

            63.    The webpages Predictive created, posted, and continues to operate for the new

domains it registered use the registered trademarks without license or consent. 140 That is,

Predictive operated at least eleven (11) new domains using the franchise brand’s trademarks on

the webpages without consent or license. These domain names do not resolve to websites

owned, controlled, or endorsed by Dwyer. Instead, they resolve to websites that are owned and

controlled by Defendant. Below are reproductions of the webpages from these new domains:

      http:www.applyforhvacjobs.com




            http://applyforglassrepairjobs.com/




140
      Id.

                                                  21
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http://www.applyforgoundskeeperjobs.com/




http://applyforwindowcleaningjobs.com/




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http://www.applyforpaintingjobs.com/




http://www.applyforelectriciancareers.com/




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http://www.applyforappliancerepairjobs.com/




http://www.applyforplumbingjobs.com/




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       http://applyforrestorationjobs.com/




       64.     Predictive has acted with reckless disregard for the Dwyer Group’s rights or were

willfully blind in connection with their unlawful activities.

       65.     Predictive has willfully and maliciously engaged in its infringing activities.




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       66.     As a result of the foregoing, this case constitutes an exceptional case as defined

by 15 U.S.C. § 1117(a).

       67.     As a result of the foregoing, the Dwyer Group must engage in extensive

corrective advertising once Predictive’s infringing activities has been restrained by the

permanent injunction issued below.141       Dwyer investigated several mediums for corrective

advertising, including print and internet.        Based on the infringement, Dwyer’s corrective

advertising will need to done on each individual brand.142      Based on its investigation, Dwyer

believes it will need to spend $1,768,481 in corrective advertising.143 Dwyer’s damages expert,

Dr. North, also calculated damages necessary for corrective advertising, which he placed at

$160,771 per month since the date infringement began until the date of trial, or $2,893,878.144

       68.     Dr. North also calculated damages for reasonable royalty, which he placed at

$100,00 per year, or $150,000 through trial. This amount is based on the fact that under the

terms of the parties’ contract, PTN and/or Dwyer earned a rebate from annual subscriptions. On

average, the annual subscriptions for 2018 totaled $595,000 per year. From this, Defendant paid

PTN and/or Dwyer a 20% rebate, or $118,800.145 Given that Defendant would be competing

against PTN and/or Dwyer, a reasonable royalty in this amount is appropriate.

       69.     Given Predictive’s ongoing infringement and violation of the Court’s preliminary

injunction, it was reasonable for the Dwyer Group to refrain from any corrective advertising until

Predictive’s infringing activities have ceased.




141
    Transcript, Page 90 at Line 10 – Page 91 Line 15.
142
    Id.
143
    Transcript, Page 102 at Lines 1-14.
144
    Transcript, Page 175 at Lines 12-19.
145
    Transcript, Page 184 at 19-25; Page 185 at Lines 1 – 191 at Line 11.

                                                   26
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          70.    The Dwyer Group has suffered irreparable harm and damages as a result of the

acts of Predictive.

          71.    The injuries and damages sustained by the Dwyer Group have been directly and

proximately caused by defendants’ wrongful advertisement, promotion, distribution, sale and

offers of sale of their goods and services bearing infringements of the Dwyer Marks.

          72.    The Court also heard evidence regarding the damages PTN suffered as a result of

Predictive’s ongoing breaches of the PTN agreement.146




146
      Transcript, Page 99 at Line 20 - Page 102 at Line 14.

                                                  27
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                                   CONCLUSIONS OF LAW

ProTradeNet’s Breach of Contract Claim

       73.      Under Texas law, the elements of breach of contract are: “(1) the existence of a

contract; (2) performance or tendered performance by the plaintiff; (3) breach by the defendant;

and (4) damages sustained by the plaintiff as a result of the breach.”147

       74.     There is no dispute regarding the existence of the PTN Agreement.

       75.     PTN performed under the PTN Agreement.

       76.     The Court finds that Predictive breached the Agreement by (1) utilizing

trademarks following termination of the PTN Agreement; (2) posting jobs for franchisees where

no jobs existed and for franchisees with whom it did not have a written agreement.

       77.     The Court finds that PTN has suffered damages as a result of Predictive’s breach.

       78.     Actual damages suffered by PTN and Dwyer as a result of Predictive’s breach of

the Agreement, excluding reputational harm and the need for corrective advertising, are as

follows:

               a. $10,440 in time spent working with Predictive to improve Predictive’s system.
                  Time spent by Trading Partner Vice-Presidents was 180 man-hours. This
                  amount of time was necessary, and a reasonable rate for their time was $58
                  per hour.148

               b. $4,950 in time spent working with Predictive to help Predictive with their
                  product launch. Time spent by Mary Thompson was 25 hours. This amount
                  of time was necessary, and a reasonable rate for their time was $198 per
                  hour.149




147
    E.g., MidCap Media Fin., LLC v. Pathway Data, Inc., No A-15-CV-60-LY, 2015 U.S. Dist.
LEXIS 166596, at *6 (W.D. Tex. Dec 11, 2015).
148
    Transcript, Page 99 at Line 23 – Page 100 at Line 22.
149
    Transcript, Page 100 at Line 24 – Page 101 at Line 5.

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               c. $2,655 in time spent dealing with franchisee complaints caused by Predictive.
                  Time spent was 45 man-hours. This amount of time was necessary, and a
                  reasonable rate for their time was $59 per hour.150

               d. $2,970 in time spent dealing with Predictive unauthorized use of marks,
                  posting of jobs not open and mistrust created with franchisees. Time spent by
                  Mary Thompson was 15 hours. This amount of time was necessary, and a
                  reasonable rate for their time was $198 per hour.151

       79.     The Court finds that the PTN Agreement entitles PTN to attorneys’ fees.152

Injunctive Relief

       80.     The Court also finds that PTN is entitled to injunctive relief with respect to

Predictive’s posting jobs where none otherwise existed and utilization of trading partner’s

trademarks without authorization to do so. The Court finds that PTN has demonstrated actual

success on the merits, no adequate remedy at law, and irreparable injury. The Court finds that the

injury threatened to PTN outweighs any damage to Predictive. There is minimal harm to a

defendant from having to comply with the law and the continuing harm to PTN and its trading

partners if the injunction is not granted outweighs any potential harm to Predictive.153 Moreover,

the parties agreed to the terms of the Preliminary Injunction; there has been no evidence on any

damage to Predictive to comply with the same. The Court finds that the injunction will not

disserve the public interest; indeed, the public interest is served by holding parties to their

contractual obligations.154 The Court finds that, following the entry of the Agreed Preliminary

Injunction on the same topic, Predictive failed to comply with the same. The Court also finds that

the Permanent Injunction is necessary based on Predictive’s past non-compliance. Based on the


150
    Transcript, Page 101 at Lines 8-15
151
    Transcript, Page 101 at Line 17 – Page 102 at Line 1.
152
    Chevron Intellectual Prop., LLC v. Allen, No. 7-08-CV-98-O, 2009 U.S. Dist. LEXIS 74751,
at *8 (N.D. Tex. Aug. 24, 2009).
153
    Allen, 2009 U.S. Dist. LEXIS 74751, at *8.
154
    McKissock, LLC v. Martin, No. EP-16-CV-400-PRM, 2016 U.S. Dist. LEXIS 183369, at *36
(W.D. Tex. Nov. 10, 2016).

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above and the evidence heard by the Court, the Court finds that the Preliminary Injunction shall

be made into a Permanent Injunction.

Predictive’s Breach of Contract Claim

       81.     The Court finds that Predictive’s claims are barred by the Parol Evidence Rule.

       82.     As stated above, the PTN Agreement provides that “(1) there are no quotas, (2)

the Agreement is non-exclusive by its very terms, and (3) the only obligation in the Agreement is

that PTN let its franchisees know about Predictive’s platform and nothing else.”155

       83.     Predictive states that there was a goal of 75% market penetration and its damages

stemmed from the failure to reach that goal.156 Predictive also states that PTN breached the

Vendor Agreement by failing to perform as set forth in Paragraph 35 and by encouraging

franchisees to use a direct competition for Predictive.157 This requires variance from the

Agreement, because the Agreement is non-exclusive, which necessarily means that would be

other vendors. Moreover, the Agreement specifically provides that PTN’s sole obligation is to let

its franchisees “know of [Predictive’s platform] and nothing else.”158

       84.     The Court finds that Predictive’s damage model is based on an alleged quota and

that Predictive’s claims are based on alleged prior agreements or statements that conflict with the

PTN Agreement. Moreover, the Agreement itself states that “This Agreement sets forth the

entire Agreement and understanding between the parties as to the subject matter hereof, and




155
    Plaintiff’s Exhibit 72.
156
    E.g., ECF 49 at 20 (“Predictive had a reasonable probability of entering into new service
agreements with the various Trading Partners’ Contractors based on Neighborly and
ProTradeNet’s expressed commitment to a goal of 75% market penetration, as well as the rapid
adoption of its services by hundreds of Contractors via the “applyatsites.”).
157
    ECF 49 at 18. It is unclear what Predictive intends by reference to Paragraph 35. That
paragraph does not refer to any alleged breach by PTN.
158
    Exhibit A1 at ¶ 2.3 (emphasis added).

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merges and supersedes all prior discussions, agreements and understandings of every and any

nature between the parties.”159

       85.     The Court finds that, even if Predictive’s claims were not barred by the Parol

Evidence Rule, Predictive has not presented legally sufficient evidence of lost profits.

       86.     The Texas Supreme Court has held that “lost profits damages can be recovered

only when both the fact and amount of damages is proved with reasonable certainty.”160

       87.     Additionally, the Fifth Circuit has held that “Parties cannot recover anticipated

profits when ‘there is no evidence from which they may be intelligently estimated.’ Those profits

must be ascertainable with a reasonable degree of certainty based on objective facts, figures, or

data.”161

       88.     The Court finds that there are no objective facts, figures, or data supporting

Predictive’s damage model. Moreover, Predictive has not presented any authority substantiating

a request for three years of profit from an agreement that is terminable on ninety days’ notice.




159
    Exhibit A1 at ¶ 8.1.
160
    Horizon Health Corp. v. Acadia Healthcare Co., 520 S.W.3d 848 (Tex. 2017)(citations
omitted)(“A party’s bare assertion that a contract was lost does not establish lost profits with
reasonable certainty. Rather, the general rule is that recovery of lost profits as damages is
allowed ‘where it is shown that a loss of profits is the natural and probable consequence of the
act or omission complained of, and their amount is shown with sufficient certainty.’ However,
‘anticipated profits cannot be recovered where they are dependent upon uncertain and changing
conditions, such as market fluctuations, or the chances of business, or where there is no evidence
from which they may be intelligently estimated.’ Indeed, ‘[t]he law is wisely skeptical of claims
of lost profits from untested ventures or in unpredictable circumstances, which in reality are little
more than wishful thinking.’ … . When the evidence supporting a claim for lost profits damages
is largely speculative or a mere hope for success, lost profits have not been established with
reasonable certainty.”).
161
    Al-Saud v. Youtoo Media, L.P., 754 Fed. App’x 246, 255 (5th Cir. Oct. 22, 2018)(citations
omitted)(quoting Tex. Instruments, Inc. v. Teletron Energy Mgmt., Inc., 877 S.W.2d 276, 279
(Tex. 1994)).

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Predictive’s Tortious Interference with Existing Contracts Claim

       89.     In order to establish tortious interference with contract Predictive must

demonstrate “(1) an existing contract subject to interference, (2) a willful and intentional act of

interference with that contract, (3) which caused plaintiff’s injury, and (4) resulted in actual

damages or loss.”162

       90.      Predictive has failed to establish the existence of a contract subject to

interference based on Predictive’s admission that there are no contracts between Predictive and

the franchisees. “A cause of action for tortious interference with a contract will not lie in the

absence of a contract.”163

       91.     There were no written contracts between Predictive and any Contractor.164

       92.     Predictive failed to demonstrate any contract with anyone that was the subject of

interference by PTN or Dwyer.

       93.     The Court further finds that Predictive cannot recover on its claim because PTN

would not be a stranger to any contracts between Predictive and Dwyer franchisees if any

contracts existed.

       94.     Additionally, at trial, Bainbridge testified that any interference with any

agreements was inadvertent, not intentional.165




162
    Wells v. Bank of Am., N.A., No. A-12-CA-409 LY, 2012 U.S. Dist. LEXIS 192601, at * 20-21
(W.D. Tex. Nov. 9, 2012).
163
    Rimkus, 688 F. Supp. 2d at 674. See also S&A Marinas v. Leonard Marine Corp., 875 S.W.2d
766, 769 (Tex. App.—Austin 1994, writ denied)(“It is axiomatic that a cause of action for
tortious interference with a contract will not lie in the absence of a contract. If a trial court
can determine conclusively that no contract exists, summary judgment is
appropriate.”)(citations omitted)(emphasis added).
164
    Transcript, Page 126 at Lines 8-16.
165
    Transcript, Page 505 at Lines 9-13.

                                                  32
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Predictive’s Tortious Interference with Prospective Contracts Claim

        95.    In order to prevail on a claim for tortious interference with prospective

contract/prospective business relations, Predictive must establish that “(1) there was a reasonable

probability that the plaintiff would have entered into a business relationship with a third party;

(2) the defendant either acted with a conscious desire to prevent the relationship from occurring

or knew the interference was certain or substantially certain to occur as a result of the conduct;

(3) the defendant’s conduct was independently tortious or unlawful; (4) the interference

proximately caused the plaintiff injury; and (5) the plaintiff suffered actual damage or loss as a

result.”166

        96.    Predictive cannot prevail on its claim because Dwyer and PTN are not strangers

to the alleged prospective contracts. “Texas jurisprudence has long recognized that a party to a

contract has a cause of action for tortious interference against any third person (a stranger to the

contract) who wrongly induces another contracting party to breach the contract. By definition,

the person who induces the breach cannot be a contracting party. Were we to recognize the

tortious interference claim when this identity of interest exists, any party who breaches a contract

could be said to have induced his own breach and would therefore be liable for tortious

interference. Such logic would convert every breach of contract claim into a tort claim.”167




166
    Coinmach Corp. v. Aspenwood Apt. Corp., 417 S.W.3d 909, 923 (Tex. 2013).
167
     Holloway v. Skinner, 898 S.W.2d 793, 794-95 (Tex. 1995)(emphasis added)(citations
omitted). See also In re Vesta Ins. Grp., Inc., 192 S.W.3d 759, 761 (Tex. 2006)(“Thus, while
liability for tortious interference arises from the general law, nonliability arises from connections
with the contract.”)(emphasis in original).

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       97.     Under Texas law, a claim for tortious interference with a prospective contract

requires pleading and proof that a party committed an independent tortious act.168 While not

meaning that a plaintiff must prove an independent tort, it does mean that “plaintiff must prove

‘that the defendant’s conduct would be actionable under a recognized tort.’”169 The Court finds

that Predictive has failed to establish that Dwyer and PTN committed any independently tortious

act. “Conduct that is merely ‘sharp’ or unfair is not actionable and cannot be the basis for an

action for tortious interference with prospective relations…”170

       98.     Predictive has also failed to identify the prospective contracts in question with

reasonable certainty. Predictive failed to present any prospective contracts.

       99.     Predictive has failed to establish that there was a reasonable probability that it

would have entered into any contracts with franchisees.171 Predictive has filed sworn declarations

that it does not have any contracts with franchisees.

       100.    Additionally, at trial, Bainbridge testified that any interference with any

agreements was inadvertent, not intentional.172

Dwyer’s Lanham Act Claims

       101.    To prevail on a claim of federal trademark infringement under the Lanham Act,

15 U.S.C. § 1051 et seq., a plaintiff must show (1) ownership of a legally protectable mark and


168
    Wal-Mart Stores, Inc. v. Sturges, 52 S.W.3d 711, 726 (Tex. 2001)(holding that “… to recover
for tortious interference with a prospective business relation a plaintiff must prove that the
defendant’s conduct was independently tortious or wrongful.”).
169
    Seismic Wells, LLC v. Matthews, No. 5:15-CV-148-C, 2015 U.S. Dist. LEXIS 179059, *18
(N.D. Tex. Sept. 11, 2015)(quoting Wal-Mart, 52 S.W.3d at 726)).
170
    Wal-Mart, 52 S.W.3d 711, 726 (Tex. 2001).
171
    To show reasonable probability, “it is not necessary to prove that the contract would have
certainly been made but for the interference; it must be reasonably probable, considering all of
the facts and circumstances attendant to the transaction. More than mere negotiations must
have taken place.” Hill v. Heritage Resources, 964 S.W.2d 89, 109 (Tex. App.—El Paso 1997,
pet. denied).
172
    Transcript, Page 505 at Lines 9-13.

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(2) a likelihood of confusion created by an infringing mark.173 Under the Lanham Act, a person

“shall be liable in a civil action” by the registrant of a mark if the person, without the registrant’s

consent, “use[s] in commerce any reproduction, counterfeit, copy, or colorable imitation of a

registered mark in connection with the sale, offering for sale, distribution, or advertising of any

goods or services on or in connection with which such use is likely to cause confusion, or to

cause mistake, or to deceive[.]”174 This Circuit considers the following eight non-exhaustive

“digits” to assess likelihood of confusion: (1) strength of the mark; (2) mark similarity; (3)

product or service similarity; (4) outlet and purchaser identity; (5) advertising media identity; (6)

defendant’s intent; (7) actual confusion; and (8) care exercised by potential purchasers.175

        102.   First, the Dwyer Group is the owner of the Dwyer Marks, all of which are legally

protectable marks. Indeed, the Dwyer Marks have become incontestable pursuant to 15 U.S.C. §

1065.

        103.   Second, Predictive’s use of marks that are identical with, or substantially

indistinguishable from, the Dwyer Marks on goods and services covered by registrations for the

Dwyer Marks, is likely to cause confusion.

        104.   Predictive has used the Dwyer Marks knowing they are infringements in

connection with the advertisement, promotion, sale, offering for sale and distribution of goods or

services to consumers, the public, and the trade.

        105.   Predictive’s use of the Dwyer Marks to advertise, promote, offer for sale,

distribute and sell its goods and services was and is without the consent of Dwyer Group.




173
    Nola Spice Designs, LLC v. Haydel Enters., Inc., 783 F.3d 527, 536 (5th Cir. 2015); Am. Rice,
Inc. v. Producers Rice Mill, Inc., 518 F.3d 321, 329 (5th Cir. 2008).
174
    15 U.S.C. § 1114(1)(a).
175
    See generally, e.g., Am. Rice, 518 F.3d at 329.

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       106.    Predictive’s unauthorized use of the Dwyer Marks on and in connection with

defendants’ advertisement, promotion, sale, offering for sale and distribution of watches through

the World Wide Web constitute defendants’ use of the Dwyer Marks in commerce.

       107.    Predictive unauthorized use of the Dwyer Marks as set forth above has been and

is likely to: (a) cause confusion, mistake, and deception; (b) cause consumers, the public, and the

trade to believe that Predictive’s goods and services are the same as the Dwyer Group’s goods

and services or that Predictive is authorized, sponsored, or approved by the Dwyer Group or that

Predictive is affiliated, connected, or associated with or in some way related to the Dwyer

Group; and (c) result in Predictive unfairly benefiting from the Dwyer Group’s advertising and

promotion and profiting from the reputation of the Dwyer Group and its Dwyer Marks all to the

substantial and irreparable injury of consumer, the public, the trade, the Dwyer Group and the

Dwyer Marks and the substantial goodwill represented thereby.

       108.    Predictive’s acts as aforesaid constitute trademark infringement in violation of

Section 32 of the Lanham Act, 15 U.S.C. §1114.

       109.    Predictive’s acts are both willful and malicious.

       110.    Based on the Dwyer Group’s extensive advertising under the Dwyer Marks, its

extensive sales, and the wide popularity of its goods and services, the Dwyer Marks have

acquired a secondary meaning so that any product, service, or advertisement bearing such

trademarks is immediately associated by consumers, the public, and the trade as being a product

or service and affiliate of the Dwyer Group.

       111.    Predictive’s activities constitute use in commerce of the Dwyer Marks.

Predictive’s use of the Dwyer Marks in connection with its sale, offers of sale, distribution,

promotion, and advertisement of their goods and services infringements of the Dwyer Marks.



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       112.    Predictive has used the Dwyer Marks, knowing they are the exclusive property of

The Dwyer Group, in connection with defendants’ sale, offers for sale, distribution, promotion,

and advertisement of their goods.

       113.    Predictive’s activities have created and do create the false and misleading

impression that Predictive is sanctioned, assigned, or authorized by The Dwyer Group to use the

Dwyer Marks to advertise, manufacture, distribute, appraise, offer for sale, or sell goods or

services bearing the Dwyer Marks when it is are not so authorized.

       114.    Predictive has engaged and do engage in the aforementioned activity with the

intent to confuse and deceive consumer, the public, and the trade into believing that it and its

services and products are in some way sponsored, affiliated, or associated with The Dwyer

Group, when in fact they are not.

       115.    Predictive’s use of one or more of the Dwyer Marks has been without the consent

of the Dwyer Group, is likely to cause confusion and mistake in the minds of consumer, the

public, and the trade and, in particular, tends to and does falsely create the impression that the

goods and services advertised, promoted, distributed and sold by Predictive are warranted,

authorized, sponsored, or approved by the Dwyer Group when, in fact, it is not.

       116.    Predictive’s unauthorized use of the Dwyer Marks has resulted in it unfairly

benefiting from the Dwyer Group’s advertising and promotion, and profiting from the reputation

of the Dwyer Group and the Dwyer Marks, to the substantial and irreparable injury of

consumers, the public, the trade, the Dwyer Group, and the Dwyer Marks and the substantial

goodwill represented thereby.

       117.    Based on the foregoing, the Court finds that the digits to assess likelihood of

confusion all weigh in favor of the Dwyer Group.



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        118.     Predictive’s acts constitute willful trademark infringement in violation of Section

32 of the Lanham Act, 15 U.S.C. §1114.

        119.     Predictive’s actions as set forth above have caused and will continue to cause

irreparable damage and injury to the Dwyer Group.

        120.     The actions of Predictive as set forth above were done deliberately and

intentionally.

        121.     Predictive’s actions as alleged herein have caused and will continue to cause

irreparable damage and injury to the Dwyer Group if not enjoined by this Court.

        122.     The Lanham Act provides, in pertinent part, that subject to the principles of

equity, a plaintiff shall be entitled:

        to recover (1) defendant’s profits, (2) any damages sustained by the plaintiff, and
        (3) the costs of the action. . . . In assessing profits the plaintiff shall be required to
        prove defendant’s sales only; defendant must prove all elements of cost or
        deduction claimed. In assessing damages the court may enter judgment, according
        to the circumstances of the case, for any sum above the amount found as actual
        damages, not exceeding three times such amount. If the court shall find that the
        amount of the recovery based on profits is either inadequate or excessive the court
        may in its discretion enter judgment for such sum as the court shall find to be just,
        according to the circumstances of the case. Such sum in either of the above
        circumstances shall constitute compensation and not a penalty.176

Thus, under the Lanham Act, multiple approaches to calculating damages are available: (1) the

trademark owner’s damages, which can include lost profits, price erosion damages, damage to

the mark, and corrective advertising; (2) reasonably royalty; (3) disgorgement of the infringer’s

profits; and (4) statutory damages, in the case of trademark counterfeiting.177




176
   15 U.S.C. § 1117(a).
177
    Litigation Services Handbook, The Role of the Financial Expert, Fourth Edition — Weil,
Frank, Hughes, Wagner, 20.24-31

                                                   38
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Corrective Advertising

      123.     When a trademark owner has been compelled to incur advertising costs to correct

confusion caused by infringement of its mark, damages have been awarded to compensate the

trademark owner for this cost of corrective advertising.178

      124.     Courts have awarded damages for prospective corrective advertising.179 Damages

determined for prospective corrective advertising must be reasonable and justified by

demonstrating that “the confusion caused by the defendant's mark injured the plaintiff and that

the repair of the old trademark, rather than adoption of a new one, is the least expensive way to

proceed.”180 In this case, Dwyer has invested millions in advertising and promoting its brands

each year. Accordingly, the cost of adopting a new trademark would likely outweigh the cost of

repairing the Dwyer trademarks.

      125.     “An award of corrective advertising is intended to compensate a trademark owner

for the amount it has spent, or will be required to spend in the future, to dispel harmful confusion

caused by a defendant’s infringement.”181 Such relief is intended to make the injured plaintiff

whole.182 Courts looking at this issue have awarded the amount spent in 1 year in advertisement

and others have followed the FTC’s rule that corrective advertising should amount to 25% of the

amount spent in the marketplace. The Court find FTC’s rule that corrective advertising should

amount to 25% of the amount spent in the marketplace reasonable and justified in this case.

Accordingly, the Court awards Dwyer $2,893,878 as corrective advertising damages.



178
     Litigation Services Handbook, The Role of the Financial Expert, Fourth Edition — Weil,
Frank, Hughes, Wagner, 20.26. Restatement (Third) of Unfair Competition (1995).
179
    Big O Tire Dealers, Inc. v. Goodyear Tire & Rubber Co., 561 F.2d 1365 (10th Cir. 1977).
180
    Zazu Designs v. L’Oreal, 979 F.2d 499, 506 (7th Cir. 1992).
181
    Simon Property Group, L.P. v. mySimon, Inc., No. IP 99-1195-CH/G, 2001 WL 66408, at *23
(S.D. Ind. Jan. 24, 2001).
182
    See Big O, 561 F.2d at 1374–75.

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      126.     The Court also finds that Dwyer Group is entitled to a reasonable royalty as part

of its damages. This Court has wide discretion in determining the appropriate remedy. 183 “If the

court shall find that the amount of the recovery based on profits is either inadequate or excessive

the court may in its discretion enter judgment for such sum as the court shall find to be just,

according to the circumstances of the case.”184 Courts will award damages even though the

plaintiff offers no evidence of actual diverted sales or customers.185

      127.     Courts have determined reasonably royalty based in part on the amount the

defendant had previously offered to pay plaintiff to license the mark. 186 A reasonably royalty

may be used in circumstances such as where lost profits as nonexistent or difficult to prove or

when defendant has failed to make a profit. Under a reasonable royalty, it is presumed the

plaintiff would have granted the defendant a license to use its mark(s). A reasonable royalty is

what would have been the negotiated royalty between a willing licensor and willing licensee at

the time of first infringement.

      128.     Courts generally look at the Georgia-Pacific factors when evaluating reasonable

royalty, which include:

       1.      The royalties received by the owner for the licensing of the marks in suit, proving
               or tending to prove an established royalty.
       2.      The rates paid by the licensee for the use of other trademarks comparable to the
               patent in suit.
       3.      The nature and scope of the license, as exclusive or non-exclusive; or as restricted
               or non-restricted in terms of territory or with respect to whom the manufactured
               product may be sold.




183
    BASF Corp. v. Old World Trading Co., 41 F.3d 1081, 1092 (7th Cir. 1994).
184
    15 U.S.C. § 1117(a).
185
    Taco Cabana Int’l, Inc. v. Two Pesos, Inc., 932 F.2d 1113, 1126-27 (5th Cir. 1991), aff’d, 505
U.S. 763 (1992).
186
     Boston Profession Hockey Association v. Dallas Cap & Emblem Manufacturing, Inc., 597
F.2d 71, 75-76 (5th Cir. 1979).

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        4.      The licensor’s established policy and marketing program to maintain his
                trademark monopoly by not licensing others to use the invention or by granting
                licenses under special conditions designed to preserve that monopoly.
        5.      The commercial relationship between the licensor and licensee, such as, whether
                they are competitors in the same territory in the same line of business.
        6.      The effect of selling the trademark in promoting sales of other products of the
                licensee; that existing value of the trademark to the licensor as a generator of
                sales.
        7.      The duration of the trademark and the term of the license.
        8.      The established profitability of the product made under the trademark; its
                commercial success; and its current popularity.
        9.      The utility and advantages of the trademarks over other non-infringing marks, if
                any, that had been used for working out similar results.
        10.     The extent to which the infringer has made use of the mark; and any evidence
                probative of the value of that use.
        11.     The portion of the profit or of the selling price that may be customary in the
                particular business or in comparable businesses to allow for the use of the
                invention or analogous inventions.
        12.     The portion of the realizable profit that should be credited to the TM as
                distinguished from non-trademark elements, the manufacturing process, business
                risks, or significant features or improvements added by the infringer.
        13.     The opinion testimony of qualified experts.
        14.     The amount that a licensor (such as the TM owner) and a licensee (such as the
                infringer) would have agreed upon (at the time the infringement began) if both
                had been reasonably and voluntarily trying to reach an agreement; that is, the
                amount which a prudent licensee-- who desired, as a business proposition, to
                obtain a license to offer and sell a particular good or served using the marks --
                would have been willing to pay as a royalty and yet be able to make a reasonable
                profit and which amount would have been acceptable by a prudent TM owner
                who was willing to grant a license.


        129.    The Court finds that a reasonable royalty in this case would be $100,000 per year.

Since the date infringement began, this totals $150,000.

        130.    The Dwyer Group is also entitled to a permanent injunction pursuant to the

Lanham Act, 15 U.S.C. § 1116 to prevent any future trademark infringement by Predictive or

any related entities.

        131.    The Dwyer Group has shown Predictive’s past (and continuing) trademark

infringement. Predictive should be enjoined from any future infringing actions. A permanent



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injunction restraining further use in any manner of the Dwyer Group’s trademarks should and

will, therefore, be issued.

        132.    The Court finds this an exceptional case and awards the Dwyer Group its

attorney’s fees.

Unfair Competition Claim

        133.    In connection with Predictive’s advertisement, promotion, distribution, sales and

offers of sales of its goods and services, it has have used in commerce, and continue to use in

commerce, the Dwyer Marks Trademarks.

        134.    In connection with Predictive’s advertisement, promotion, distribution, sales and

offers of sales of its goods and services, Predictive has affixed, applied, and used false

designations of origin and false and misleading descriptions and representations, including the

Dwyer Marks, which tend falsely to describe the origin, sponsorship, association or approval by

the Dwyer Group of the goods and services sell.

        135.    Predictive has used one or more of the Dwyer Marks with full knowledge of the

falsity of such designations of origin, descriptions, and representations, all to the detriment of the

Dwyer Group.

        136.    Predictive’s use of the Dwyer Marks on the websites identified above and on

Predictive’s goods and services constitutes false descriptions and representations tending falsely

to describe or represent defendant and its products and services as being authorized, sponsored,

affiliated, or associated with Dwyer.

        137.    Predictive has used one or more of the Dwyer Marks on the websites identified

above and the goods and services with the express intent to cause confusion and mistake, to




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deceive and mislead consumers, the public, to trade upon the reputation of the Dwyer Group and

improperly to appropriate to themselves the valuable trademark rights of the Dwyer Group.

        138.    Predictive’s acts constitute the use in commerce of false designations of origin

and false or misleading descriptions or representations, tending to falsely or misleadingly

describe or represent defendants’ products as those of the Dwyer Group in violation of Section

43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

       139.     The Court finds the damages awarded to the Dwyer Group as outlined above for

trademark infringement are the appropriate damages to be awarded for Predictive’s unfair

competition claim as well and, therefore, awards the Dwyer Group (1) $1,751,819 as corrective

advertising damages, and (2) $120,000 reasonable royalty.

        140.    The Dwyer Group is also entitled to a permanent injunction pursuant to the

Lanham Act, 15 U.S.C. § 1116 to prevent any future unfair competition by Predictive or any

related entities.

        141.    The Dwyer Group has shown Predictive’s past (and continuing) unfair

competition. Predictive should be enjoined from any future unfair competition. A permanent

injunction restraining further use in any manner of the Dwyer Group’s trademarks should and

will, therefore, be issued.

        142.    The Court finds this an exceptional case and awards the Dwyer Group its

attorney’s fees.

Cybersquatting Claim

        143.    Section 1125(d)(1)(A) of the Lanham Act (referred to as the Anti-Cybersquatting

Consumer Protection Act or “ACPA”) provides: “A person shall be liable in a civil action by the

owner of a mark . . . if, without regard to the goods or services of the parties, that person (i) has a



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bad faith intent to profit from that mark, including a personal name which is protected as a mark

under this section; and (ii) registers, traffics in, or uses a domain name that—(I) in the case of a

mark that is distinctive at the time of registration of the domain name, is identical or confusingly

similar to that mark. Thus, to prevail on the merits of an ACPA claim, the Dwyer Group must

show that (1) its mark “is a distinctive or famous mark entitled to protection”; (2) Predictive’s

“domain names are ‘identical or confusingly similar to’ [the Dwyer Marks]; and (3) Predictive

registered, trafficked, or used the domain names with the bad faith intent to profit from them.” 15

U.S.C. § 1125(d)(1)(A)).

       144.    The Lanham Act provides for a number of potential remedies to a successful

ACPA plaintiff, including injunctive relief, forfeiture or cancellation of the disputed domain

name or transfer of the name to the plaintiff, the plaintiff’s actual damages, the defendant’s

profits, costs, statutory damages of $1,000 to $100,000 per domain name in lieu of actual

damages, and attorney’s fees in “exceptional cases.” 15 U.S.C. §1116(a); 15 U.S.C. §1117(a),

(d); 15 U.S.C. §1125(d)(1)(C). Courts have the discretion, “according to the circumstances of

the case,” to increase an award of “actual damages” to a sum not exceeding three times the

amount of actual damages found. 15 U.S.C. §1117(a).

       145.    As discussed above, the Dwyer Marks are distinctive and were distinctive before

Defendant registered and continued to use the infringing domain names after the Agreement was

terminated.

       146.    The infringing domain names are either identical or confusingly similar to

Dwyer’s Marks.

       147.    Predictive continued its registration and use of the infringing domain names after

its rights had been terminated and to divert potential applicants from Dwyer’s career web site to



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web sites accessible under the infringing domain names for Defendant’s commercial gain by

creating a likelihood of confusion as to the source, sponsorship, affiliation, or endorsement of the

web site.

       148.    Predictive’s continued registration and use of the infringing domain names was

intended primarily to capitalize on the good will associated with Dwyer’s Marks. This is perhaps

most evidence by Predictive’s registration of the new domains, redirecting of traffic from the

infringing domain names, and then use of infringing content on the webpages to deceive and

cause confusion to consumers, the public, and the trade.

       149.    Predictive continued its registration, trafficked in, or used the infringing domain

names with a bad faith intent to profit from Dwyer’s marks and its associated goodwill.

       150.    Predictive’s diversion of traffic from Dwyer’s authorized web sites has harmed

and continues to harm Dwyer’s ability to generate leads and keep its franchises supplied with

proper employees and/or contractors.

       151.    Predictive’s continued registration and use of the infringing domain names causes

Dwyer’s franchises, leads, and potential leads to believe that this is Dwyer’s web site or that

Dwyer is allowing this advertisement.

       152.    Predictive’s continued registration and use of the infringing domain names has

caused Dwyer damages. The Dwyer Group has elected statutory damages in lieu of actual

damages. After consideration, the Court awards the Dwyer Group $50,000 per domain, or

$550,000 total, as statutory damages.

       153.    The Court also finds that the Dwyer Group is entitled to transfer of the infringing

domains from Predictive.




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        154.    The Dwyer Group is also entitled to a permanent injunction pursuant to the

Lanham Act, 15 U.S.C. § 1116 to prevent any future ACPA violation by Predictive or any

related entities.

        155.    The Dwyer Group has shown Predictive’s past (and continuing) ACPA violations.

Predictive should be enjoined from any future ACPA violations. A permanent injunction

restraining further use in any manner of the Dwyer Group’s trademarks should and will,

therefore, be issued.

        156.    The Court finds this an exceptional case and awards the Dwyer Group its

attorney’s fees.

                                         CONCLUSION

        157.    PTN and Dwyer shall submit a proposed form of judgment within ten (10) days

from the date of entry of these findings of fact and conclusions of law.

SIGNED this 3rd day of February, 2020.




                                      ALAN D ALBRIGHT
                                      UNITED STATES DISTRICT JUDGE




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